                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           NORTHERN DIVISION
                             No. 2:20-CR-4-1M


UNITED STATES OF AMERICA                         )
                                                 )
      v.                                         )
                                                 )        ORDER
FREDERICK W. BERGER,                             )
                                                 )
      Defendant.                                 )



      This matter is before the court for preliminary examination of the

government’s motion for revocation of Defendant’s probation and for hearing on the

government’s oral motion to detain Defendant pursuant to 18 U.S.C. § 3143 and Rule

32.1(a)(6) of the Federal Rules of Criminal Procedure. A hearing was held in this

matter on September 30, 2021, at which Defendant appeared and was represented by

Assistant Federal Defender James E. Todd, Jr., and the government was represented

by AUSA Bradford M. Devoe.

      At the hearing, the court orally stated findings and conclusions, all of which

are hereby incorporated by reference. The court restates in writing the following

findings and conclusions of the court:

      1.      That probable cause exists to believe that Defendant violated the terms

of probation by engaging in criminal conduct (communicating threats) and by failing

to comply with the terms and conditions of the home confinement/electronic




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monitoring program as alleged in the government’s motion for revocation filed on

August 20, 2021; and

      2.      That Defendant has failed to establish by clear and convincing evidence

that he will not pose a danger to the safety of others if released. The court’s

determination in this regard is based upon the following factors or reasons: the nature

and circumstances of the alleged violations; Defendant’s mental health history;

evidence that Defendant has made threats of physical violence against the probation

officers; Defendant has generally refused to comply with instructions of the probation

office and the court; Defendant is unlikely to abide by conditions of release; Defendant

poses a serious risk of danger to the U.S. Probation Officers; and any other findings

or reasons stated in open court.

      Accordingly, the court hereby ORDERS that Defendant be committed to the

custody of the Attorney General or a designated representative to be detained

pursuant to 18 U.S.C. § 3143(a)(1) pending his revocation hearing.

      This 11th day of October 2021.



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                                        KIMBERLY  LY
                                                  L Y A. SWANK
                                        United States Magistrate Judge




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